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                IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION

                                        §
                                        §
ERIK CANTU, JR. AND                     §           CIVIL ACTION NO.
EMILY PROULX                            §
                                        §            5:24-cv-00382-XR
      PLAINTIFFS                        §
                                        §
                                        §
VS.                                     §
                                        §
                                        §
JAMES BRENNAND AND
                                        §
THE CITY OF SAN ANTONIO                 §

      DEFENDANTS


                   ADVISORY TO THE COURT
         CONCERNING STATUS OF THE STATE CRIMINAL CASE

TO THE HONORABLE COURT:
      NOW COMES ATTORNEY PATRICK BALLANTYNE, as a friend of the

Court, and hereby provides the following advisory to the Court and the parties to

this cause concerning the status of the state criminal case pending against

Defendant James Brennand.

   1. Mr. Brennand is presently charged by a three-count indictment with the

      Texas felony oﬀenses of Aggravated Assault by a Public Servant and Deadly

      Conduct in a cause numbered 2024-CR-2701 and pending before the 437th


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   District Court for Bexar County, Texas. Those charges arise from the same

   factual circumstances giving rise to Plaintiﬀs’ claims in this civil action.

2. The undersigned attorney’s law ﬁrm represents Mr. Brennand in defense of

   the pending state criminal charges.       The ﬁrm does not represent Mr.

   Brennand in the instant civil action.

3. The state criminal charges were previously specially set for a jury trial to

   begin November 8, 2024. In the months and weeks leading up to trial, the

   Bexar County Criminal District Attorney’s Oﬃce experienced signiﬁcant

   shifts in employment and prosecutor assignments that resulted in a

   continuance and rescheduling of trial. First, the lead chief of the oﬃce’s

   Civil Rights Division was replaced following repeated lapses in discovery

   and ethical disclosure obligations. (Ex. A – BCCDA’s Press Release) The

   replacement chief prosecutor then resigned his employment with the oﬃce

   after three months in that position.        (Ex. B – News Article)         These

   circumstances resulted in the prosecution seeking a continuance of the

   scheduled trial date.




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   4. The trial court has entered a “Final Scheduling Order,” with jury selection

      now scheduled to commence April 11, 2025. (Ex. C – Final Scheduling

      Order)

      If the parties or the Court require additional information concerning the

status of the state criminal proceeding, I can be reached through the phone number

and email address below.


                                            Respectfully submitted:



                                     By:    ___________________________
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                         CERTIFICATE OF SERVICE

      I hereby certify that the forgoing motion was served concurrently with the

ﬁling of this motion on all counsel for the parties who are registered to receive

service in this case.


                                           ___________________________
                                           PATRICK BALLANTYNE




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